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              EXHIBIT 2
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                                                BALLOT

PLEASE COMPLETE THE FOLLOWING:

SEATON INSURANCE COMPANY                                 In re W. It. Grace & Co., eta/.
DRINKER BIDDLE & REATH LLP                               Case No. 01-01139 (YFK)
DAVID P PRIMACK
1100 N MARKET ST, STE 1000                               Class 6 Asbestos PI Claims
WILMINGTON, DE 19801-1254                                (Indirect PI Trast Claims)
Please read the instructions accompanying this Ballot before completing the Ballot. Print Clearly.

Item 1.     PRINCIPAL AMOUNT OF INDIRECT PI TRUST CLAIM. Amount of your claim for
            voting purposes only: $1.00.
Item 2.     VOTE ON THE PLAN. The undersigned Holder of the Indirect PI Tmst Claim in the
            amount set forth in Item l hereby votes ~ of its Claim to (cheek one box only):
             ACCEPT the Plan IIHIH~IHHIII|IfllHIHIHIIH



Please note: lfyou vote to accept the Plan, you will be deemed to have given the specific releases set
forth in Section 8.8.7 of the Plan.
Item 3. TI~,I,I~.PHONE NUMBER / AUTHORIZATION
Telephone Number:

Name of Signatory (if different fi-om claimant):

If by Authorized Agent, Title or Agent:
Item 4.      ACKNOWLEDGEMENTS AND CERTIFICATIONS. By sigmag and returning this
             Ballot, you make the following acknowledgements and certifications:
(i)          I have been provided with a copy of the Plan, the Disclosure Statement, the Exhibit Book, the
             Voting Procedures, and the exhibits thereto; and
             I was the Holder of an Indirect PI Trust Claim, as defined in the Plan, as of the Voting Record
             Date or I have the authority, under applicable law, to vote to accept or reject the Plml on
             behalf of a Holder of an Indirect PI Trust Claim as of the Voting Reenrd Date.
Item 5. SIGNATURE AND DATE:
Signature of Claimant or Authorized Agent                                                  Date

Item 6. ADDRESS CORRECTIONS, IF ANY (PRINT CLEARLY)
Nan3e


Address 1

Address 2
City. State and ZIP Code (US)




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